         Case 1:21-cv-00521-GWC Document 43 Filed 10/13/23 Page 1 of 1




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

__________________________________________
JD1, ID2, and JD3,


                                     Plaintiff(s),
                                                                   MEDIATION
                                                                 CERTIFICATION

                                                                    21 - cv - ______
                                                                  ______      0521
                                v.

CANISIUS COLLEGE, et al,


                                 Defendant(s).

__________________________________________



   I hereby certify that:

    The mediation session scheduled for___________ has been adjourned to ___________.

   Case settled prior to the first mediation session.
✔ Mediation session was held on ______________.
                                    10/12/23

    ✔ Case has settled. (Comment if necessary).
        Case has settled in part. (Comment below). Mediation will continue on________.

        Case has settled in part. (Comment below). Mediation is complete.

        Case has not settled. Mediation will continue on ________________________.

        Case has not settled.


                                                                 Steven V. Modica
Date: ______________
      10/13/2023                                 Mediator: /S/ __________________________

Additional Comments:
Counsel are working together on a detailed settlement agreement, the most critical terms of
________________________________________________________________________
which were agreed to during a lengthy mediation session yesterday. A stipulation of
________________________________________________________________________
discontinuance with prejudice will be filed when the detailed agreement is done.
________________________________________________________________________

     Print             Clear Form
